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               EXHIBIT 1A

Revised Long Form Notice
      (clean version)
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                  U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

               If You Bought an Airline Ticket between the U.S.
         and Asia, Australia, New Zealand, or the Pacific Islands,
                     You Could Receive Benefits from a Settlement.
                 A Federal Court authorized this notice. This is not a solicitation.

•   Please read this Notice carefully as it impacts your rights and provides you with information regarding a
    $58 million Settlement with All Nippon Airways Company, Limited (“ANA”).
•   There are three Classes included in this Settlement. Generally, a person or entity may be included if they:
    • Bought a ticket for air travel from ANA or Japan Airlines International Company, Ltd. (“JAL”)
       between February 1, 2005 and December 31, 2007 that included a fuel surcharge OR
    • Purchased a ticket from ANA or JAL between January 1, 2000 and April 1, 2006 for a Satogaeri (i.e.,
       “homecoming”) fare; and the ticket included at least one flight segment originating in the U.S. to
       Japan OR
    • Bought a ticket for air travel from one of 13 airlines (including ANA and the airlines listed in the
       next bullet point) between January 1, 2000 and December 1, 2016 and the ticket included at least
       one flight segment originating in the U.S. to Asia or Oceania.

•   This is the final Court-approved Notice in this case. Two earlier settlement rounds involving the price of
    transpacific airline tickets were reached with: Air New Zealand Limited; China Airlines, Ltd.; EVA
    Airways Corporation; Philippine Airlines, Inc.; Cathay Pacific Airways Limited; JAL; Malaysian Airline
    System Berhad; Qantas Airways Limited; Singapore Airlines Limited; Societe Air France; Thai Airways
    International Public Co., Ltd.; and Vietnam Airlines Company Limited (collectively, “Defendants”).
•   ANA has agreed to settle the case. This Notice provides details of the proposed Settlement with ANA
    and your rights in this lawsuit.
•   For additional information,       important    documents,    and    case   updates,   visit   the   website
    www.AirlineSettlement.com.


                     YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

SUBMIT A CLAIM                This is the only way to receive a payment. You must file a claim by Month
                              00, 2019.
EXCLUDE YOURSELF              If you ask to be excluded from the Settlement, you won’t be eligible to share in
                              the benefits. But you keep any rights to sue ANA on your own about the same
                              legal claims in this lawsuit. You must exclude yourself by Month 00, 2019.
OBJECT TO THE                 Write to the Court explaining why you have an objection to the Settlement.
SETTLEMENT                    You must object to the Settlement by Month 00, 2019.
GO TO THE HEARING             Ask to speak in Court about the Settlement.
DO NOTHING                    You will not receive a cash recovery from the Settlement and you will give up
                              any rights you currently have to separately sue ANA for the conduct that is the
                              subject of the lawsuit.

        These rights and options – and the deadlines to exercise them – are explained in this Notice.

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                                          BASIC INFORMATION

 1. What is this Notice about?

This Notice is to inform you about a Settlement with All Nippon Airways Company, Limited (“ANA”) that
may affect your rights before the Court decides whether to approve the Settlement. If you are included in
any of the Settlement Class(es), you have legal rights and options that you may exercise.

The United States District Court for the Northern District of California presides over this case. The case is
called In re Transpacific Passenger Air Transportation Antitrust Litigation, MDL No. 1913. The people
that sued are called Plaintiffs, and the companies they sued are called the Defendants (see Question 2).

 2. What is the lawsuit about?

The original lawsuit claimed that thirteen Defendants agreed to fix the prices of airline tickets for travel
between the United States and Asia/Oceania. As a result, ticket purchasers may have paid more than was
necessary. The Defendants in that lawsuit are: ANA; Air New Zealand Limited; China Airlines, Ltd.; EVA
Airways Corporation; Philippine Airlines, Inc.; Cathay Pacific Airways Limited; Japan Airlines
International Company, Ltd. (“JAL”); Malaysian Airline System Berhad; Qantas Airways Limited;
Singapore Airlines Limited; Societe Air France; Thai Airways International Public Co., Ltd.; and Vietnam
Airlines Company Limited.

The lawsuit also claims that ANA and JAL agreed to fix the prices of airline tickets and/or fuel surcharges
for travel between the United States and Japan. The lawsuit claims that ANA and JAL agreed to institute
and raise fuel surcharges on airline tickets between February 1, 2005 and December 31, 2007, and to fix
the prices of airline tickets on certain fares called Satogaeri or "homecoming" fares, which are discount
fares marketed to Japanese people living in the U.S. for travel to Japan between January 1, 2000 and April
1, 2006. As a result, ticket purchasers may have paid more than was necessary.

ANA has pled guilty to fixing the prices of certain discounted tickets for transpacific air transportation sold
in the United States from at least as early as April 1, 2000 until at least April 1, 2004. This guilty plea does
not apply to the fuel surcharge claims alleged in this case.

Please note that settlements involving transpacific air travel were previously reached in 2015 with eight of
the Defendants (including JAL) and in 2018 with four of the Defendants. These earlier settlements total
$89,402,000.

 3. What is a class action?

In a class action, one or more people called class representatives sue on behalf of a group or a “class” of
people who have similar claims. In a class action, the court resolves the issues for all class members, except
for those who exclude themselves from the class. In this case, there are several classes described in the
Settlement Agreement.




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                                          WHO IS INCLUDED

 4. How do I know if I am included in the Classes?

There are three separate Classes included in the Settlement: the Japan Class (Settlement Class I), the
Satogaeri Class (Settlement Class II), and Settlement Class III.

The Japan Settlement Class includes: All persons and entities that directly purchased tickets for passenger
air transportation from JAL or ANA, or any predecessor, subsidiary or affiliate thereof, that originated in
the United States and included at least one flight segment from the United States to Japan between the
period beginning February 1, 2005 and ending December 31, 2007. Excluded from the Japan Class are any
tickets that did not include a fuel surcharge. Excluded from the Japan Class are any antitrust immunized
fares agreed upon at International Air Transport Association ‘Tariff Coordinating Conferences.’ Excluded
from the Japan Class are tickets exclusively acquired through award or reward travel or any tickets acquired
for infant travel with a 90% discount. Also excluded from the Japan Class are purchases by government
entities, Defendants, any parent subsidiary or affiliate thereof, and Defendants’ or any other commercial
airline’s officers, directors, employees, agents, and immediate families.

The Satogaeri Settlement Class includes: All persons and entities that directly purchased Satogaeri fares
from JAL or ANA or any predecessor, subsidiary or affiliate thereof, that originated in the United States
and included at least one flight segment to Japan and does not include travel to countries other than the
United States and Japan between the period beginning January 1, 2000 and ending April 1, 2006. Excluded
from the Satogaeri Class are purchases by government entities, Defendants, any parent subsidiary or
affiliate thereof, and Defendants’ officers, directors, employees and immediate families. Also excluded are
purchases of Satogaeri Special fares and maerui satogaeri fares.

The Settlement Class III includes: All persons and entities that directly purchased passenger air
transportation originating in the United States that included at least one flight segment to Asia or Oceania,
from or on any of the Defendants, or any predecessor, subsidiary, or affiliate thereof, at any time between
January 1, 2000 and December 1, 2016. Excluded from the class are governmental entities, Defendants,
former Defendants in the Action, any parent, subsidiary or affiliate thereof, and Defendants' officers,
directors, employees and immediate families.

The three Settlement Classes are not mutually exclusive. All members of the Satogaeri Settlement Class
and the Japan Settlement Class are members of Settlement Class III.

 5. Are travel agents included in the Classes?

No. Travel agents are not included in the Classes simply by virtue of being travel agents. Travel agents
are only included in the Classes if they personally purchased tickets included in the three Classes described
in Question 4 for their personal use. The Court has expressed a desire that travel agents take whatever
reasonable steps necessary to inform their customers about the Settlement.

                                   THE SETTLEMENT’S BENEFITS

 6. What does the Settlement provide?

The Court has already approved twelve settlements totaling $89,402,000.




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This ANA Settlement will provide $58,000,000. A portion of the Settlement will be used to pay the costs
of class notice and administration, and attorneys’ fees and costs. It is possible that any money left after
paying Class Members that is economically infeasible to distribute will be donated to charities approved by
the Court. More details are in the Settlement Agreement, available at www.AirlineSettlement.com.

The amount of money that will be available for distribution to each Class is as follows (1) $39,440,752.50
will be allocated for distribution to the Japan Settlement Class; (2) $11,059,247.50 will be allocated for
distribution to the Satogaeri Settlement Class; and (3) $7,500,000.00 will be available for distribution to
Settlement Class III. Specific details on the distribution are available at the website.

 7. How much money will I receive?

At this time, it is unknown how much each eligible member of the Classes will receive. In order to receive
a payment, you will need to file a valid claim form. To save time and money, payments will be made at
the conclusion of the case.

Pursuant to the proposed plan of allocation, eligible claims will receive a pro rata share of the applicable
settlement funds for each class in which the claim(s) qualify. However, based on the claims that have
already been filed, it is estimated that the average payment of prior settlements in this matter, which had
classes similar to Settlement Class III, could be in the range of $5 per eligible ticket claimed. Because there
is no prior claims history for the Satogaeri and Japan Classes, a per ticket estimate is not possible for those
classes. The claims administrator received a large number of claims just before a claims deadline
concerning the previous round of settlements, and these claims have not yet been subjected to audit. As a
result, the number of claimed tickets that are determined to be eligible may be reduced, and the
corresponding amount of compensation to be allocated among the remaining eligible claims may
increase. These Settlement Classes are not releasing claims for Asia/Oceania originating travel as part of
the Settlement Agreement.

                                        HOW TO GET BENEFITS

 8. How do I get benefits?

You must complete and submit a Claim Form online or mail a paper Claim Form in order to share in the
Settlement. Even if you filed a claim in the previous settlements you will need to provide a supplemental
Claim Form (available on the website) to allow the claims administrator to determine your eligibility to
participate in the Satogaeri Class and the Japan Class. Additionally, there is a longer class period
concerning Settlement Class III than there was for some of the earlier settlement classes. You will need to
supplement your earlier Claim Form with information concerning flights that were not previously disclosed
on your prior Claim Form if you want them considered for money from the Settlement Class III fund. The
deadline to submit a Claim Form is Month 00, 2019. For additional information regarding completing a
Claim Form, visit www.AirlineSettlement.com or call 1-800-439-1781.

 9. When will I get benefits?

Settlement Class Members who are entitled to payments will receive their payments after the Court grants
final approval to the Settlement and after any appeals are resolved (see “The Fairness Hearing” below). If
there are appeals, resolving them can take time. Please be patient.




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                                      REMAIN IN THE CLASSES
 10. What am I giving up if I stay in the Classes?

If you do nothing, you will automatically remain in the Classes. You will be legally bound by all Court
orders, which means you won’t be able to separately sue, or continue to sue, ANA about the legal claims
in this case. If you exclude yourself, you won’t get any money from future distributions to the Classes.

In return for paying the Settlement amount, ANA will be released for certain claims relating to the facts
underlying the lawsuit. The Settlement Agreement describes the release, so read it carefully. If you have
any questions, you can talk to Class Counsel listed in Question 16 for free or you can talk to your own
lawyer if you have questions about what this means. The Settlement Agreement and the specific release
are available at www.AirlineSettlement.com.

                           EXCLUDE YOURSELF FROM THE CLASSES

 11. How do I get out of the Class(es)?

If you decide not to participate in the Settlement, you must exclude yourself from these Class(es). If you
exclude yourself, you will not receive any benefits from this Settlement. You will not be bound by any
Court orders and you keep your right to sue ANA on your own regarding the issues in this case.

To exclude yourself from the Class(es), you must send a letter (a “Request for Exclusion”) by mail. It must
include:

    •   Your name, address, and telephone number;
    •   A statement that you want to be excluded from the Japan Class, the Satogaeri Class, and/or
        Settlement Class III, and indicate you are excluding yourself from the ANA Settlement (e.g., “I/we
        hereby request that I/we be excluded from the Japan Settlement Class/the Satogaeri Class/
        Settlement Class III in the In re Transpacific Passenger Air Transportation Antitrust Litigation.”);
        and
    •   Your signature.

Your Request for Exclusion must be postmarked no later than Month 00, 2019, to:

                                       Transpacific Air Settlement
                                               Exclusions
                                             P.O. Box 2209
                                       Faribault, MN 55021-1609


 12. If I don’t exclude myself, can I sue for the same thing later?

No. Unless you exclude yourself, you will remain in the Settlement and give up any right to separately sue
ANA.

 13. If I exclude myself, can I still get benefits?

No. If you exclude yourself from the Class(es), you will not be eligible for payments from the Settlement.



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                        OBJECT TO OR COMMENT ON THE SETTLEMENT

 14. How do I object to or comment on the Settlement?

If you have objections to any aspect of the Settlement, you may express your views to the Court by writing
to the address below. It must include your:

   •   Name, address, and telephone number;
   •   The case name and number (In re Transpacific Passenger Air Transportation Antitrust Litigation,
       N.D. Cal. Case No. 3:07-cv-05634-CRB);
   •   Proof of membership in at least one Settlement Class;
   •   Notice of whether you intend to appear at the Fairness Hearing;
   •   The name, address, and telephone number of any lawyer assisting you;
   •   Specific details surrounding your objection; and
   •   Your signature.

You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a different
settlement; the Court can only approve or reject the settlement. If the Court denies approval, no settlement
payments will be sent out and the lawsuit will continue. If that is what you want to happen, you must
object.

If you file a timely written objection, you may, but are not required to, appear at the Final Approval Hearing,
either in person or through your own attorney. If you appear through your own attorney, you are responsible
for hiring and paying that attorney.

Any comment or objection must be postmarked no later than Month 00, 2019 and mailed to the Court’s
address below:

                                               Clerk’s Office
                                     United States District Court for the
                                      District of Northern California
                                         450 Golden Gate Avenue
                                         San Francisco, CA 94102

You can also file your objection in person at any location of the United States District Court for the Northern
District of California.

 15. What is the difference between excluding myself from the Classes and objecting to the
     Settlement?

If you exclude yourself from the Classes, you are telling the Court that you don’t want to participate in the
Settlement. Therefore, you will not be eligible to receive any benefits from the Settlement, and you will
not be able to object to the Settlement. Objecting to the Settlement simply means telling the Court that you
don’t like something about the Settlement. Objecting does not disqualify you from making a claim nor
does it make you ineligible to receive a payment.




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                               THE LAWYERS REPRESENTING YOU

 16. Do I have a lawyer representing me?

The Court has appointed the following law firms as Class Counsel to represent you and all other members
of the Classes:

               Cotchett, Pitre & McCarthy LLP                        Hausfeld, LLP
              San Francisco Airport Office Center                600 Montgomery Street
                 840 Malcolm Road, Suite 200                           Suite 3400
                    Burlingame, CA 94010                        San Francisco, CA 94111

If you have any questions about the Settlement, you can talk to Class Counsel, or you can retain your own
lawyer at your own expense.

 17. How will the lawyers be paid?

You do not need to separately pay Class Counsel. Class Counsel will request a fee award in connection
with the final approval of the Settlement. With respect to the Settlement Agreement described in this Notice,
Class Counsel’s fee request will not exceed one-third of the Settlement amount. Class Counsel will also
seek reimbursement of reasonable litigation expenses. Class Counsel will seek no more than $1.7 million
in unreimbursed litigation expenses, but that amount may increase if additional expenses are incurred
between now and the finalizing of this Settlement and distribution of the settlement funds. The final
amounts in attorneys’ fees and costs sought from the Settlement Fund will be outlined in Plaintiffs’ Motion
for Attorneys’ Fees and Reimbursement of Reasonable Litigation expenses, which will be filed with the
Court and posted on the Settlement website no later than 35 days prior to the objection deadline.

                                       THE FAIRNESS HEARING

 18. When and where will the Fairness Hearing take place?

The Court will hold a Fairness Hearing on Month 00, 2019 at 00:00 a.m., at the United States District
Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA 94102,
Courtroom 6, 17th Floor. The hearing may be moved to a different date or time without additional notice.
Please check www.AirlineSettlement.com or call 1-800-439-1781 to be kept up-to-date on the date, time,
and location of the Fairness Hearing. At the Fairness Hearing, the Court will consider whether the
Settlement is fair, reasonable, and adequate. If there are objections or comments, the Court will consider
them at that time. After the hearing, the Court will decide whether to grant final approval to the Settlement.
We do not know how long these decisions will take.

 19. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to come at your
own expense. If you send an objection or comment, you don’t have to come to Court to talk about it. As
long as you mailed your written objection on time, the Court will consider it. You may also retain a lawyer
to appear on your behalf at your own expense.




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 20. May I speak at the hearing?

If you send an objection or comment on the Settlement as described in Question 14, you will have the right
to speak at the Fairness hearing.

                                    GET MORE INFORMATION

 21. Where can I get more information?

This Notice summarizes the Settlement. You can get more information about the Settlement or for the
precise terms and conditions of the Settlement, please see the Settlement Agreement, at
www.AirlineSettlement.com, by calling 1-800-439-1781, or by writing to Transpacific Air Settlement, P.O.
Box 2209, Faribault, MN 55021-1609.

You can also get more information about the Settlement by contacting Class Counsel:

               Cotchett, Pitre & McCarthy LLP                      Hausfeld, LLP
              San Francisco Airport Office Center              600 Montgomery Street
                 840 Malcolm Road, Suite 200                         Suite 3400
                    Burlingame, CA 94010                      San Francisco, CA 94111

You can also get copies of the official Court file by accessing the Court docket in this case, for a fee:
    • Through the Court’s Public Access to Court Electronic Records (PACER) system at
        https://ecf.cand.uscourts.gov, or
    • By visiting the office of the Clerk of the Court for the United States District Court for the Northern
        District of California, 450 Golden Gate Avenue, San Francisco, CA 94102, between 9:00 a.m.
        and 4:00 p.m., Monday through Friday, excluding Court holidays.

    PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO
           INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS.




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